
959 A.2d 84 (2008)
406 Md. 394
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Cary Bartlo W HALL, Respondent.
Misc. Docket AG No. 18, September Term, 2008.
Court of Appeals of Maryland.
October 31, 2008.

ORDER
Upon consideration of the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 16-773 and the response having been filed thereto by Cary Bartlow Hall, the respondent, to the show cause order, it is this 31st day of October, 2008
ORDERED, by the Court of Appeals of Maryland, that Cary Bartlow Hall is suspended for a period of eighteen (18) months, effective May 6, 2008, from the practice of law in the State of Maryland, and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Cary Bartlow Hall from the register of attorneys, in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State in accordance with Rule 16-760(e).
